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                                      UNITED STAIES DISTRICT COURT
                                       DISTRICT OF MINNESOTA


                                  prArNrmr.
                                                     DEFENDANT'S AFFIDAVIT
                                                      IN SI.JPPORT OF FRANKS
                                                      HEARING
 V.                                                                                        trgt}F.${F,'g
 GREGORY LYNN MCCOY                                                                           BY MNIU
                  DEFENDANT.
                                                                                                FEB 1 I        2021

                                                                                                        CLSRK
I, Gregory Lynn McCoy, after first being duly sworn do hereby depose as follows:r,,y,fr;;S;5$,,ffiH$r^

  l. I am the defendant in the above-entitled    matter.

  2.   I make this affidavit in support of my motion for a Franks Hearing.

  3. Offrcer Marshall the affiant of the search warrant application willfully   neglected to include

       exculpatory information that   if included would   have negated probable cause for the search

       warrant executed at2930 Sheridan Avenue North in Minneapolis Minnesota on October 22,

       2019.

  4.   Specifically, law enforcement allegedly received information from a Confidential Reliable

       Informant, (CRI) that a man named "Greg" sells Cocaine and Marijuana and uses a handgun for

       intimidation and protection. This conduct allegedly occurred in the area of 29s and Sheridan

       Avenue North in Minneapolis but police did not have a specific address, or collaborated this

       information about "Greg" selling drugs or possessing a gun. The CRI provided a phone number

       used to contact   "Greg" 612-458-0114. Though investigation including the clear and DVS

       websites Officer Marshall obtained a picture of Gregory McCoy and showed it to CRI who

       indicated that it was the "Greg" about whom she was referring. But Officer Marshall received

       conflicting information about my residence that he failed to convey to the Magistrate.


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). Through the DVS website Offrcer Marshall       learned that at one time   I owned a2002 Chevrolet

     trail Blazer that was registered to 2939 Sheridan Avenue North, but a full review of the

     information on file with DVS list my address to ll'h Avenue East in the city of North St. Paul.

     The inclusion of this contradictory information would would have reduced the probable cause

     for the search warrant as it diminished the nexus between any alleged activities of "Greg" and

     the boarding house at2939 Sheridan.

6. The Search warrant application also failed to truthfully report all relevant information about the

     phone number alleged to be use by "Greg." The phone records indicate that 612-458-0114 is

     billed to a "Craig Davis" who lives on West Broadway in North Minneapolis. Failure of the

     officer to include this information is made more important by the fact that West Broadway is

     very close to29'h and Sheridan. In light of the CRI's inconclusive information about where

     "Greg" Lives the inclusion of this information in the affidavit would have significantly

     diminished probable cause.

7.   The initial information provided by the CRI dealt with an individual know only as "Pumpkin"

     with whom "Greg" allegedly stays with. The offrcer failed to include contradictory information

     regarding this individual's address and phone records as well. Specifically, the CRI gave police

     a phone   number 612-403-2077 that Offrcer Marshall "researched" and learned the person

     associated with the phone number is one John Turnage. But was bill'ed     to l77l Kent Street in

     Roseville Minnesota.The inclusion of this contradictory information would have further negated

     probable cause regarding the nexus to 2939 Sheridan Avenue. Not only was it not included in

     the application, but to the best of your affiant's knowledge this alternate address was not

     investigated.

8.   The application attempted to establish a connection to 2939 Sheridan by averring that a2002

     Chewolet Blazer was parked in front of 2939 Sheridan several times. The reason this

     information should not have been included is that there is no mention of when the vehicle was
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         allegedly seen in that location. I sold that vehicle weeks before the execution of the warrant.

         Therefore if the vehicle were observed in that location it would have been stale information

         by the time the application was made. Inclusion of this information would have negated

         probable cause. Selectively Choosing to exclude this information is evidence of reckless

         disregard for the truth of the content of the application.

9.       After the boarding house at2939 Sheridan Avenue was searched. Law enforcement offrcers left

         the residence and preceded to preform a dog sniffsearch of a Dodge Durango License plate

         number    DLP3ll down the street from the residence in question. The Canine allegedly indicated

         a   positive response to narcotics to this vehicle. The vehicle in question was not even included

         under the grounds of the search warrant. The dog's allegedly positive hit on the vehicle   for

         narcotics is curious in light of the fact no drugs were ever found in the vehicle, and represents

         just one more "fact" which casts doubt on the veracity of law enforcement officers at the scene.

10. Officer Marshall did or should have spoken with my probation agent, Quinten L. Billingslea.

         Billingslea would have then informed him that I only leased a single room from the boarding

         house at2939 Sheridan Avenue. He obviously knew that I was on federal probation and knew

         Mr. Billingslea was my P.O. Because Officer Marshall told me that I would have to explain to

         Mr. Billingslea if contraband were found pursuant to the search warrant.

I   l.   He Also knew that John Turnage was on Federal probation. He did check or should have

         checked on his probation status and found out that his address listed with U.S. probation was

         3400 Tyler St. N.E. Minneapolis, Minnesota 55418 which would have negated probable cause            if
         added to the application for the search warrant at2939 Sheridan Avenue N.

12. The attempt to establish a nexus between drugs and guns on the part of John Turnage that

         according to the CRI is supposed to stay near 29'h Avenue N. and Sheridan Avenue North, and

         said that he drives a black range rover. Officer Marshall said that he observed a black Range
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     Rover License plate number DCU066 in the rear of 2939 Sheridan Ave. North and took a

photograph   of   it and showed it to the CRI who said it looked identical to the Range Rover that she had

seen Gregory McCoy      driving. But what Officer Marshall failed to add to his application for the search

warrant for the boarding house at2939 Sheridan Avenue N. is that License plate number DCU066 had

no ties to2939 Sheridan Avenue North, and was registered to a Denise Elisabeth Pickford at 3400 Tyler

St. N.E. Minneapolis Minnesota. This fact would have diminished probable cause even more so this

omission strongly suggests reckless disregard for the truth.

    13. There is no documentation what so ever that John Turnage lives at the boarding house      at2939

       SheridanAvenue North in Officer Marshall's application other than the conclusory statement

       that Tumage was seen as he left his residence at2939 Sheridan Avenue North
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 FURTHER YOURAFFIANT SAYETH NAUGHT



Subscribed and sworn to this   4
Day of December 2020




Notary Public



Dated December 0l/2020                         Respectfu lly submitted,

                                               /s/ Gresorv Lwm McCov
                                              13880 Business Ctr Dr NW, Suite 200
                                              Elk River, Minnesota 55330
